          Case 1:13-cr-00077-LJO-BAM Document 189 Filed 10/13/16 Page 1 of 2



 1 NICHOLAS F. REYES, #102114
   LAW OFFICES OF NICHOLAS F. REYES
 2 1107 R STREET
   FRESNO, CA 93721
 3 Telephone: 559-486-4500
   Facsimile: 559-486-4533
 4 Email: nfreyeslaw@gmail.com

 5 Attorney for Defendant
   ROBERT MARTINEZ
 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-00077-LJO-BAM
11                              Plaintiff,             STIPULATION TO CONTINUE
                                                       SENTENCING
12   v.
13   ROBERT MARTINEZ,
14                              Defendant.
15

16         Defendant, ROBERT MARTINEZ, by and through his counsel of record,
17 NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and

18 through its counsel of record, KIMBERLY A. SANCHEZ, Assistant United States Attorney

19 for the Eastern District of California, hereby stipulate that the sentencing in the above-
20 referenced case currently scheduled for Monday, October 17, 2016, at 8:30 a.m. be continued

21 to Monday, January 23, 2017 at 8:30 a.m. in the courtroom for the Honorable Lawrence J.

22 O’Neill, District Judge.

23         This stipulation is based on good cause since defendant is receiving extensive medical
24 treatment and is scheduled to have an Electromyogram on October 20, 2016 at UCSF San

25 Francisco and thereafter will be scheduled for surgery of the cervical spine (see attached
26 medical records). The government has no opposition to this request.

27

28
                                                   1
29

30
          Case 1:13-cr-00077-LJO-BAM Document 189 Filed 10/13/16 Page 2 of 2



 1

 2 IT IS SO STIPULATED
                                                 Respectfully submitted,
 3
     Dated: 10/13/16                             /s/ Nicholas F. Reyes
 4                                               NICHOLAS F. REYES
                                                 Attorney for Defendant
 5
     IT IS SO STIPULATED
 6

 7
     Dated: _10/13/16_______                     /s/ Kimberly A. Sanchez_______
 8                                                KIMBERLY A. SANCHEZ
                                                 Assistant U.S. Attorney
 9
                                    ORDER
10

11 Granted. No further continuances will be entertained. The Defendant is ordered to be

12 Present on January 23, 2017 for sentencing.

13

14 IT IS SO ORDERED.

15      Dated:   October 13, 2016                 /s/ Lawrence J. O’Neill _____
16                                       UNITED STATES CHIEF DISTRICT JUDGE

17

18

19
20

21

22

23

24

25
26

27

28
                                             2
29

30
